 1   WILLIAM L. STERN (CA SBN 96105)
     WStern@mofo.com
 2   MORRISON & FOERSTER LLP
     425 Market Street
 3   San Francisco, California 94105
     Telephone: 415.268.7000
 4
     JAMES W. HUSTON (CA SBN 115596)
 5   JHuston@mofo.com
     ERIN M. BOSMAN (CA SBN 204987)
 6   EBosman@mofo.com
     JULIE Y. PARK (CA SBN 259929)
 7   JuliePark@mofo.com
     MORRISON & FOERSTER LLP
 8   12531 High Bluff Drive
     San Diego, California 92130-2040
 9   Telephone: 858.720.5100
     Facsimile: 858.720.5125
10

11   Attorneys for Defendant
     FITBIT, INC.
12

13                                 UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15

16   JAMES P. BRICKMAN, individually and as a           Case No. 3:15-cv-2077-JD
     representative of all others similarly situated,
17
                            Plaintiff,                  DEFENDANT FITBIT, INC.’S NOTICE
18                                                      OF MOTION AND MOTION TO
            v.                                          DISMISS PLAINTIFFS’ FOURTH
19                                                      AMENDED COMPLAINT;
     FITBIT, INC.,                                      MEMORANDUM OF POINTS AND
20                                                      AUTHORITIES IN SUPPORT THEREOF
                            Defendant.
21                                                      Date:    March 16, 2016
                                                        Time:    10:00 a.m.
22                                                      Ctrm:    11, 19th Floor

23                                                      The Honorable James Donato

24                                                      Date Action Filed:   May 8, 2015

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
     sd-674287
 1                                                   TABLE OF CONTENTS
 2                                                                                                                                      Page
 3   NOTICE OF MOTION AND MOTION ....................................................................................... iv
     STATEMENT OF THE ISSUES TO BE DECIDED ..................................................................... v
 4
     I.   INTRODUCTION .............................................................................................................. 1
 5   II.  FACTUAL BACKGROUND AND PROCEDURAL HISTORY ..................................... 1
 6        A.    Fitbit’s Wide Range of Activity and Fitness Trackers ............................................ 1
          B.    Plaintiffs’ Activity Trackers .................................................................................... 2
 7
          C.    Fitbit’s Advertisements and Statements on Sleep Tracking ................................... 2
 8        D.    Using Movement to Track Sleep............................................................................. 3
 9            E.        Plaintiffs’ Allegations ............................................................................................. 3
              F.  Procedural History .................................................................................................. 4
10
     III.     ARGUMENT ...................................................................................................................... 5
11            A.  Plaintiffs’ Claims of Deception Are Not Plausible ................................................. 5
12                1.      The Sole Basis for Plaintiffs’ Claims Is a False Premise ............................ 6
                  2.      Plaintiffs’ Additional “Factual” Allegations Are Simply Conclusory
13                        Statements That Fail to Meet The Pleading Burden ................................... 7
14                3.      Fitbit’s Trackers Do What They Claim To Do ........................................... 9
                  4.      Fitbit’s General Statements Are Puffery ................................................... 10
15
                  5.      No Reasonable Consumer Would Have Been Deceived By the
16                        Online Dashboard Depicted on the Product Packaging ............................ 11
              B.  Plaintiffs’ Fraud-Based Claims Lack Specificity.................................................. 12
17
              C.  Plaintiffs’ Warranty Claims Fail and Should Be Dismissed ................................. 14
18                1.      There Is No Defect .................................................................................... 14
19                2.      Plaintiffs’ MMWA Claim Also Fails ........................................................ 15
     IV.      CONCLUSION ................................................................................................................. 15
20
21

22

23

24

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                                                                  i
     sd-674287
 1
                                                     TABLE OF AUTHORITIES
 2
                                                                                                                                      Page(s)
 3   CASES

 4   Ang v. Whitewave Foods Co.,
        No. 13-cv-1953, 2013 WL 6492353 (N.D. Cal. Dec. 10, 2013) ............................................... 5
 5
     Ashcroft v. Iqbal,
 6      556 U.S. 662 (2009) ............................................................................................................ 5, 14
 7
     Bell Atl. Corp. v. Twombly,
 8       550 U.S. 544 (2007) .................................................................................................................. 5

 9   Block v. eBay, Inc.,
        747 F.3d 1135 (9th Cir. 2014)................................................................................................... 9
10
     Clemens v. DaimlerChrysler Corp.,
11      534 F.3d 1017 (9th Cir. 2008)................................................................................................. 15
12
     Cook, Perkiss, & Liehe v. N. Cal. Collection Serv.,
13      911 F.2d 242 (9th Cir. 1990)................................................................................................... 11

14   Frenzel v. Aliphcom,
        76 F. Supp. 3d 999 (N.D. Cal. 2014) (“Frenzel I”)....................................................... 1, 11, 12
15
     Frenzel v. Aliphcom,
16      No. 14-cv-03587-WHO, 2015 WL 4110811
        (N.D. Cal. Jul. 7, 2015) (“Frenzel II”) ................................................................... 1, 12, 13, 14
17

18   Glen Holly Entm’t, Inc. v. Tektronix, Inc.,
        352 F.3d 367 (9th Cir. 2003)..................................................................................................... 6
19
     Henderson v. Gruma Corp.,
20      No. CV 10-04173 AHM, 2011 WL 1362188 (C.D. Cal. Apr. 11, 2011) ............................. 5, 9
21   Hill v. Hoover Co.,
         899 F. Supp. 2d 1259 (N.D. Fla. 2012) ................................................................................... 12
22
     In re All Terrain Vehicle Litig.,
23
         771 F. Supp. 1057 (C.D. Cal. 1991) ....................................................................................... 11
24
     In re iPhone 4S Consumer Litig.,
25       No. C 12-1127 CW, 2014 WL 589388 (N.D. Cal. Feb. 14, 2014) ......................................... 13

26   In re Sony Gaming Networks & Customer Data Sec. Breach Litig.,
         996 F. Supp. 2d 942 (S.D. Cal. 2014) ....................................................................................... 9
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                                                                ii
     sd-674287
                                                     TABLE OF AUTHORITIES
                                                           Continued
                                                                                                                                             Page
 1   Jovine v. Abbott Labs., Inc.,
        795 F. Supp. 2d 1331 (S.D. Fla. 2011) ........................................................................... 6, 7, 12
 2
     Kearns v. Ford Motor Co.,
 3
        567 F.3d 1120 (9th Cir. 2009)................................................................................................. 12
 4
     McKinney v. Google, Inc.,
 5     No. 5:10-CV-01177 EJD (PSG), 2011 WL 3862120 (N.D. Cal. Aug. 30, 2011) ............ 13, 14

 6   Minkler v. Apple, Inc.,
        65 F. Supp. 3d 810 ...................................................................................................... 13, 14, 15
 7
     Newcal Indus., Inc. v. Ikon Office Solution,
 8      513 F.3d 1038 (9th Cir. 2008)........................................................................................... 10, 11
 9
     Stearns v. Select Comfort Retail Corp.,
10       No. 08-2746 JF, 2009 WL 1635931 (N.D. Cal. June 5, 2009) ......................................... 11, 12

11   Tietsworth v. Sears, Roebuck and Co.,
         720 F. Supp. 2d 1123 (N.D. Cal. 2010) ............................................................................ 11, 14
12
     Vess v. Ciba-Geigy Corp.,
13      317 F.3d 1097 (9th Cir. 2003)........................................................................................... 12, 13
14   Werbel v. Pepsico, Inc.,
15      No. C 09-04456 SBA, 2010 WL 2673860, at *3 (N.D. Cal. July 2, 2010) .............................. 5

16   Williamson v. Apple, Inc.,
        No. 5:11-cv-00377 EJD, 2012 WL 3835104 (N.D. Cal. Sept. 4, 2012) ................................... 5
17
     STATUTES
18
     15 U.S.C.
19      § 2310(d)(1) ............................................................................................................................ 15
20
21

22

23

24

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                                                                  iii
     sd-674287
 1                               NOTICE OF MOTION AND MOTION

 2          PLEASE TAKE NOTICE that on March 16, 2016 at 10:00 a.m. or as soon thereafter as

 3   the matter may be heard, in the United States District Court for the Northern District of

 4   California, Defendant Fitbit, Inc. (“Fitbit”) will, and hereby does, move to dismiss the Fourth

 5   Amended Complaint (“4AC”) of Plaintiffs James P. Brickman and Margaret Clingman

 6   (“Plaintiffs”) pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure on the

 7   grounds that the 4AC fails to state a claim upon which relief can be granted and Plaintiffs’ fraud-

 8   based claims fail to meet the federal standard for pleading fraud with particularity.

 9          This motion is based on this Notice of Motion and Motion, the accompanying

10   Memorandum of Points and Authorities, the concurrently filed Request for Judicial Notice (RJN)

11   and Declaration of Julie Y. Park, and on such other written and oral argument as may be

12   presented to the Court.

13
     Dated: January 8, 2016                      MORRISON & FOERSTER LLP
14

15
                                                 By: s/ Erin M. Bosman
16                                                    Erin M. Bosman

17                                                     Attorneys for Defendant
                                                       FITBIT, INC.
18

19

20
21

22

23

24

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                         iv
     sd-674287
 1                        STATEMENT OF THE ISSUES TO BE DECIDED

 2          This motion raises the following issues:

 3          1. Implausibility. Can Plaintiffs state a claim where no reasonable consumer would
               have been deceived by Fitbit’s conduct?
 4
            2. Rule 9(b) Particularity. Can Plaintiffs meet the Rule 9(b) pleading standard for
 5             fraud where Defendant has made no representations about the accuracy of its sleep
               tracking features and Plaintiffs fail to plausibly allege that Defendant’s statements are
 6             false?

 7          3. Breach of Warranties. Can Plaintiffs’ breach of warranty claims survive even
               though they have not alleged a product defect?
 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                           v
     sd-674287
 1          I.      INTRODUCTION

 2          Plaintiffs have amended their complaint once more in an attempt to bring their claims

 3   within the realm of plausibility. Once more they have failed. According to Plaintiffs, everyone

 4   who bought a Fitbit device with a sleep tracking function was deceived because the device tracks

 5   only movement and not sleep. The crux of their claim is that movement is unrelated to sleep.

 6   Plaintiffs are wrong. Using movement is a scientifically accepted way to measure sleep, which

 7   has been recognized by the American Academy of Sleep Medicine.

 8          Plaintiffs’ entire 4AC relies on the false premise that indirect measurements are

 9   necessarily misleading. Any reasonable consumer can appreciate that this premise is false—it

10   would mean, for example, that a thermometer doesn’t measure temperature and is fraudulent

11   because it only measures the expansion of mercury. Like the 4AC, such a position is not just

12   wrong, but absurd on its face and contrary to scientific knowledge and common sense.

13          Nearly identical claims have already been dismissed with prejudice by Judge Orrick.

14   Frenzel v. Aliphcom, 76 F. Supp. 3d 999 (N.D. Cal. 2014) (“Frenzel I”); Frenzel v. Aliphcom, No.

15   14-cv-03587-WHO, 2015 WL 4110811 (N.D. Cal. Jul. 7, 2015) (“Frenzel II”). Encompassing

16   the same set of facts and claims as Frenzel, Plaintiffs’ 4AC should meet the same fate.

17          Nothing that Plaintiffs allege in their 4AC changes the fact that Plaintiffs and every

18   putative class member received exactly what they paid for: a novel, wrist-based activity tracker

19   that does exactly what Fitbit says it does. For these reasons, Fitbit respectfully asks this Court to

20   dismiss the 4AC with prejudice.

21          II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

22                  A.      Fitbit’s Wide Range of Activity and Fitness Trackers

23          Fitbit is the market leader in activity and fitness trackers. Fitbit’s current fitness tracker

24   lineup includes Zip, One, Flex, Force, Charge, Charge HR, and Surge. (RJN Ex. A at 1.) All of

25   Fitbit’s trackers count steps (id.) and sync wirelessly to leading smartphones and computers (see,

26   e.g., id. Ex. B at 8.) By syncing their trackers, users have access to Fitbit’s online application

27   (“app”), which has a dashboard with tools for users to “[v]iew your progress and analyze your

28   trends with easy-to-read charts and graphs.” (Id. Ex. D at 9.)
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                             1
     sd-674287
 1          Other features vary among trackers. Zip, the lowest priced tracker, has a clip-on design, a

 2   replaceable battery that lasts up to six months, and an LCD display. (RJN Ex. B at 2, 8.)

 3   Designed with simplicity in mind, Zip tracks activity, but does not track floors climbed or sleep.

 4   (Id. Ex. A at 1.) Zip retails at least $30 less than any other Fitbit tracker. (4AC ¶ 28.)

 5          Fitbit One, like Zip, is a clip-on tracker that counts steps. But it contains a number of

 6   other features, including sleep tracking. (Id.) Branded as “One powerful, motivating tracker,”

 7   One tracks the number of floors climbed. (RJN Ex. C at 2.) It features an OLED display that can

 8   be read in the dark and has a rechargeable battery. (Id. Ex. C at 9.) In addition to tracking sleep,

 9   One contains a vibrating motor that powers its silent alarm. (Id.)

10                  B.      Plaintiffs’ Activity Trackers
11          Plaintiffs purchased Fitbit Flex products in November 2013 and June 2014 for $99-$120.

12   (4AC ¶¶ 43-44, 54.) Flex debuted in May 2013 as Fitbit’s first wrist-worn activity and fitness

13   tracker. In addition to tracking steps and sleep (RJN Ex. A at 1), it has an LED light display that

14   shows progress toward a user’s daily step goal (id. Ex. D at 10). Like One, Flex has a silent

15   alarm. (Id. Ex. A at 1.) Flex is unique among Fitbit trackers in having interchangeable bands,

16   (id. Ex. D at 6), which come in different colors and styles, introducing yet another dimension of

17   enjoyment and novelty for Fitbit users (id. Ex. H at 1).

18                  C.      Fitbit’s Advertisements and Statements on Sleep Tracking
19          Fitbit’s advertising highlights each product’s unique feature set as part of a complete

20   package with sleep tracking as just one component. For example, Fitbit urges users to “Get fit.
21   Sleep better. All in one.” (RJN Ex. C at 1.) “Flex never sleeps—even when you do. Wear it all

22   night to measure your sleep quality and how long you slept. Then, wake with a silent, vibrating

23   alarm to start your day stepping on the right foot.” (Id. Ex. D at 5.) The packaging boasts that

24   Flex helps “TRACK YOUR DAY” with steps, distance, calories burned, and active minutes.

25   (4AC Ex. 2.) It also states that Flex helps users “TRACK YOUR NIGHT” with hours slept,

26   times woken up, sleep quality, and a silent vibrating alarm. (Id. ¶ 13; id. Ex. 2.)
27          After a user has registered and synced a device to his Fitbit account, the online dashboard

28   displays information about the amount and quality of sleep. (Id. ¶¶ 15-16.) An image of the
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                            2
     sd-674287
 1   dashboard appears on Flex’s packaging to convey that users can “SYNC YOUR STATS REAL-

 2   TIME”—i.e., that users can sync the device wirelessly to their smartphones or computers. (Id.)

 3   Contrary to Plaintiffs’ allegations, the dashboard graphic on the product packaging clearly is not

 4   intended to convey “factual representations.” (See 4AC ¶ 30.) This is evident from the small size

 5   of the graphic on the packaging, which has been magnified nearly threefold on Page 6 of the

 6   4AC. On the Flex product packaging, that image fits into a space that is 2 inches tall and 2 ¼

 7   inches wide. (See 4AC Ex. 2.) Indeed, any phantom of “factual information” presented by this

 8   graphic is so small as to be illegible. (See id.)

 9                  D.       Using Movement to Track Sleep
10          The Fitbit trackers use a 3-axis accelerometer to measure movement and translate that

11   movement—or lack thereof—into sleep. (4AC ¶ 34.) In this way, the Fitbit trackers mimic

12   actigraphy, which “uses accelerometers to detect . . . movement” and “is a method used to study

13   sleep-wake patterns and circadian rhythms by assessing movement, most commonly of the wrist.”

14   (RJN Ex. K at 337-38.) “Sleep-wake patterns are estimated from periods of activity and

15   inactivity based on this movement.” (Id. at 337.) According to the American Academy of Sleep

16   Medicine, “[a]ctigraphy is reliable and valid for detecting sleep in normal, healthy adult

17   populations.” (Id. at 338.) At least one scientific paper has compared Fitbit’s sleep tracking to

18   both actigraphy and polysomnography, the latter of which is “the accepted scientific standard for

19   sleep tracking” that monitors “brain waves, eye movements, muscle activity, heart rhythm, and

20   more, to diagnose and/or rule out sleep disorders.” (4AC ¶ 9; RJN Ex. N.) That paper, by
21   Dr. Montgomery-Downs, noted that “[s]imilar to actigraphy, the Fitbit system relies on

22   movement and absence of movement to infer sleep and wake.” (Id. at 916.) In addition, “Fitbit

23   devices show acceptable reliability between devices, demonstrating that different devices perform

24   consistently compared to each other.” (Id.) The Fitbit devices do, in fact, track sleep.

25                  E.       Plaintiffs’ Allegations
26          Despite the documented ability of Fitbit trackers to measure sleep, Plaintiffs introduce a
27   false premise to support their claim that Fitbit’s “representations that Plaintiff [] would receive a

28   working and functional sleep-tracking feature were false.” (4AC ¶¶ 50, 57.) This premise is that
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                             3
     sd-674287
 1   any indirect measurement of an output is necessarily deceptive. In addition to their claims of

 2   misrepresentation, Plaintiffs insist that Fitbit Zip “contains the same fundamental features of the

 3   other Fitbit devices EXCEPT the sleep-tracking function.” (See, e.g., id. ¶ 89.) On that basis,

 4   Plaintiffs claim, they paid at least $30 more than they would have paid for Zip in reliance on

 5   representations made in Fitbit’s product packaging. (Id. ¶¶ 47, 56.) Plaintiffs further claim that

 6   Fitbit misrepresented “what the device will do, and that the devices cannot track sleep and rather

 7   only movement” (id. ¶ 38), despite the proven ability of actigraphy to measure sleep by

 8   measuring movement. In support of their claims, Plaintiffs proffer two kinds of “factual”

 9   allegations that were not pled in the First Amended Complaint. The first comprises news articles

10   and product reviews, none of which demonstrate that the products Plaintiffs bought cannot track

11   sleep. (Id.) The second comprises conclusory—and identical—allegations that “[a]fter a short

12   period of wearing the device, it became obvious to Plaintiff [] that the device only tracked

13   [his/her] motion and did not actually track the hours [he/she] slept, the times [he/she] awoke

14   during sleep, or the quality of [his/her] sleep.” (Id. ¶¶ 12-13, 49.) Nowhere does either Plaintiff

15   support this conclusion with facts.

16          Based on the alleged misrepresentations, Plaintiffs have pled nine causes of action against

17   Fitbit individually and on behalf of two putative classes, one comprising California residents and

18   one comprising Florida residents.

19                  F.      Procedural History
20          Plaintiff Brickman filed his original Complaint on May 8, 2015. Fitbit moved to dismiss
21   for failure to state a claim, in part because California law did not apply to the Florida resident’s

22   claims. (ECF No. 21.) Rather than oppose Fitbit’s motion, Plaintiff filed a First Amended

23   Complaint (“FAC”), adding a California-resident plaintiff, Stephanie Mallick, and amending the

24   causes of action to bring additional claims under Florida law and drop the claim for breach of

25   express warranty. (ECF No. 32.) Fitbit moved to compel arbitration of Plaintiff Mallick’s claims

26   and again moved to dismiss the FAC for failure to state a claim. (ECF Nos. 34, 39.) At oral
27   argument, Plaintiffs agreed to substitute a different California plaintiff for Ms. Mallick in order to

28   avoid an order granting Fitbit’s motion to compel arbitration. Fitbit in turn agreed to withdraw its
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                            4
     sd-674287
 1   motion. The Court took Fitbit’s motion to dismiss under submission after urging Plaintiffs’

 2   counsel to “plausibly plead” Plaintiffs’ claims. (Hearing Tr. 21:23-22:25, Nov. 10, 2015.])

 3          Plaintiffs filed a Second Amended Complaint (“2AC”), revising their allegations and

 4   removing plaintiff Stephanie Mallick. (ECF No. 54.) The Third Amended Complaint (“3AC”)

 5   and 4AC merely substituted a series of California plaintiffs. (ECF Nos. 57, 60.) In light of the

 6   amendments made in the 2AC and the addition of a new California plaintiff in the 3AC, the Court

 7   denied Fitbit’s motion to dismiss the FAC as moot. (ECF No. 58.) Plaintiffs’ revised allegations,

 8   however, rely on a false premise and do nothing more to push Plaintiffs’ claims into the realm of

 9   plausibility. Accordingly, the 4AC should be dismissed.

10          III.    ARGUMENT
11                  A.      Plaintiffs’ Claims of Deception Are Not Plausible
12          A complaint must “contain sufficient factual matter, accepted as true, to ‘state a claim to

13   relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation

14   omitted). The 4AC does not. A “plaintiff [must] plead[] factual content that allows the court to

15   draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.; see

16   also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Plaintiffs have failed to do so.

17          Moreover, “statements are only actionable under [the UCL, CLRA, and FAL] if they are

18   likely to deceive a reasonable consumer,” which requires “the plaintiff [to] ‘show that members

19   of the public are likely to be deceived.’” Henderson v. Gruma Corp., No. CV 10-04173 AHM

20   (AJWx), 2011 WL 1362188, at *10 (C.D. Cal. Apr. 11, 2011) (citing Freeman v. Time, Inc., 68
21   F.3d 285, 289 (9th Cir. 1995)). “[W]here a court can conclude as a matter of law that members of

22   the public are not likely to be deceived by the product packaging, dismissal is appropriate.”

23   Werbel v. Pepsico, Inc., No. C 09-04456 SBA, 2010 WL 2673860, at *3 (N.D. Cal. July 2, 2010);

24   see also Williamson v. Apple, Inc., No. 5:11-cv-00377 EJD, 2012 WL 3835104, at *6 (N.D. Cal.

25   Sept. 4, 2012) (dismissing CLRA, UCL, FAL, and breach of express warranty claim based on

26   allegations that defendant represented that the glass housing on its phone was drop-proof because
27   “it is a well-known fact of life that glass can break under impact, even glass that has been

28   reinforced”); Ang v. Whitewave Foods Co., No. 13-cv-1953, 2013 WL 6492353, at *4 (N.D. Cal.
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                          5
     sd-674287
 1   Dec. 10, 2013) (dismissing UCL, FAL, and CLRA claims for lack of plausibility where plaintiffs

 2   asserted consumers would confuse soy milk or almond milk for dairy milk).

 3          The same standard applies to claims brought under the FDUTPA. Jovine v. Abbott Labs.,

 4   Inc., 795 F. Supp. 2d 1331, 1342 (S.D. Fla. 2011) (noting that “in a FDUTPA action the issue is

 5   not reliance, but whether the practice was likely to deceive a consumer acting reasonably in the

 6   same circumstances” (quotation omitted)).

 7          A plausible claim of deception is also a necessary element of Plaintiffs’ fraud and

 8   negligent misrepresentation claims. See Glen Holly Entm’t, Inc. v. Tektronix, Inc., 352 F.3d 367,

 9   379 (9th Cir. 2003) (“both fraud and negligent misrepresentation as causes of action require

10   [plaintiff] to demonstrate it justifiably relied on [defendant’s] misrepresentations”); Jovine, 795 F.

11   Supp. 2d at 1338 (essential element of negligent misrepresentation is that “injury must result to

12   the party acting in justifiable reliance on the misrepresentation” (emphasis added)).

13          Finally, Plaintiffs’ unjust enrichment claim relies on a plausible allegation of deception as

14   Plaintiffs seek recovery for the profits retained from the “conduct alleged herein,” all of which is

15   based on Fitbit’s alleged misrepresentations. (4AC ¶ 156.)

16          Plaintiffs cannot show that a reasonable consumer would be deceived by Fitbit’s

17   statements about sleep tracking because no “deception” is even explained by the 4AC. Their

18   claims of deception are implausible as a matter of law for five reasons.

19                          1.      The Sole Basis for Plaintiffs’ Claims Is a False Premise
20          Plaintiffs rely on a false premise: that indirect measurements cannot be valid. Therefore,
21   because “movement is not sleep,” the Fitbit products do not track sleep. This premise is

22   completely false and is the only “factual” support for Plaintiffs’ claims. On this basis alone,

23   Plaintiffs’ 4AC should be dismissed.

24          Why stop at Fitbit? If using an accelerometer to detect sleep can be considered false

25   advertising, everyday products are risk. As mentioned in the introduction, Plaintiffs’ argument is

26   equivalent to arguing that a thermometer does not truly measure “temperature” because it only
27   marks the expansion of mercury inside the thermometer. But just as movement is an accepted

28   surrogate for measuring sleep, the expansion of mercury is an accepted surrogate for measuring
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                            6
     sd-674287
 1   temperature. No reasonable consumer would find a thermometer reading deceptive simply

 2   because the thermometer does not measure “temperature.” Similarly, an automobile’s

 3   speedometer does not measure “speed,” but only measures the rotation of the wheel assembly.

 4   The only “true” way to measure “speed” directly is by radar; one must conclude based on

 5   Plaintiffs’ premise that the speedometer reading on a car is false and deceptive. Accusing these

 6   products of being deceptive defies science and logic and insults the common consumer

 7   experience.

 8          In fact, polysomnography—which Plaintiffs insist is the “accepted scientific standard for

 9   sleep tracking” (4AC ¶ 9)—does not measure “sleep” either. It measures “brain waves, eye

10   movements, muscle activity, heart rhythm, and more,” according to Plaintiffs (id.).

11   Conspicuously absent from this list of metrics is “sleep.”

12          Plaintiffs’ 4AC demonstrates a complete misunderstanding of the fact that a reasonable

13   conclusion drawn from a measurement can also be a measurement. By setting forth this false

14   premise, the 4AC is more deceptive than the conduct Plaintiffs allege Fitbit has engaged in. To

15   allow these claims to survive and to allow discovery on the issue of whether movement can be a

16   proxy for sleep—a scientifically accepted premise—would be a waste of judicial resources.

17                          2.     Plaintiffs’ Additional “Factual” Allegations Are Simply
                                   Conclusory Statements That Fail to Meet The Pleading Burden
18

19          Despite the Court’s guidance at the November 10, 2015 hearing (see Hearing Tr. 21:25-

20   22:14), Plaintiffs have failed to amend their pleading with any factual allegations beyond their
21   false premise and their conclusory statements that Fitbit’s sleep tracking does not work. As the

22   Court noted, Plaintiffs must “show [] the facts that make your story plausible.” (Id. 21:4-5.) The

23   Court went on to observe such facts were absent and that Plaintiffs needed to plead why or how

24   “we know that or we believe that Fitbit cannot track in the way that it represents.” (Id. 20:9-11.)

25   In response, Plaintiffs added two categories of “facts”: online reports that lend no factual support

26   and self-serving “averments” that are nothing more than legal conclusions.
27          First, Plaintiffs cite three online articles discussing the Fitbit One—not the Fitbit Flex they

28   purchased—that fail to provide factual support for their claims. (Id. ¶ 38; RJN Ex. J.) One article
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                           7
     sd-674287
 1   published online in The Guardian quotes a researcher as stating that motion trackers do not

 2   “measure[e] sleep, simply motion,” but clarifies that because the motion trackers do not measure

 3   “muscle tone, brain waves, heart rate or eye movement,” they cannot distinguish between stages

 4   of sleep. (4AC ¶ 38.)1 This article simply underscores the point that a reasonable consumer

 5   would agree with the Court, which recognized, “I think we all get . . . the Fitbit is not a sleep lab

 6   on your wrist.” (Hearing Tr. 14:3-4.) The article does not support the conclusion that motion

 7   cannot be used to track sleep. Equally off-point are the two product reviews Plaintiffs cite, from

 8   Gizmodo and Tech Crunch. (4AC ¶ 38.) Both reviewed Fitbit One (which neither Plaintiff

 9   purchased) in 2012 (more than a year before Plaintiffs’ purchases). (Id.) Even if the reviews

10   applied to Plaintiffs’ products, they provide no specific allegations supporting Plaintiffs’ claims.2

11           These “facts” miss the mark. One reviewer thought that a product Plaintiffs never

12   purchased might be inaccurate; another reviewer conceded that Fitbit One tracks sleep; and a

13   news article bemoaned the inability of motion trackers to detect sleep stages or REM sleep.

14   These allegations do not support Plaintiffs’ claim that Fitbit’s trackers cannot track sleep because

15   they only track movement. Indeed, it is well established that tracking motion is a valid way of

16   tracking sleep. (RJN at 4-5.)

17           Lacking factual support for their claims, Plaintiffs’ resort to conclusory “averments.”

18   Both Plaintiffs claim that “it became obvious . . . that the device only tracked [his/her] motion and

19   did not actually track the hours [he/she] slept, the times [he/she] awoke during sleep, or the

20   quality of [his/her] sleep.” (4AC ¶¶ 12-13, 49.) These identical averments by Plaintiffs are
21   nothing more than legal conclusions drawn up by counsel and differ in no way from the “lawyerly

22   fiat” that the Court indicated was unlikely to state a plausible claim. (Hearing Tr. 20:1-7.)
             1
23             Plaintiffs also cite to this article for its statement that “You cannot infer quality of sleep
     from motion.” (4AC ¶ 38.) However, this clearly refers to the stages of sleep and different sleep
24   cycles, which Fitbit does not claim to track or measure.
             2
25             The Gizmodo reviewer complained that the Fitbit One “guesses” sleep time if not
     manually inputted. He later updated his review to note that he learned how to activate sleep-
26   tracking mode, implicitly acknowledging that the product tracked sleep. (RJN Ex. J.) Notably,
     Fitbit has never offered automatic sleep tracking for Fitbit One. (RJN Ex. C.) Plaintiffs assert
27   that the Tech Crunch reviewer never received “informative sleep tracking data,” but cite no
     statement that the Fitbit One cannot track sleep. (4AC ¶ 38.)
28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                             8
     sd-674287
 1          In light of the fact that tracking motion is a valid method of tracking sleep, Plaintiffs

 2   cannot plausibly allege that a reasonable consumer would be misled by Fitbit’s statements that its

 3   activity trackers track sleep. See, e.g. Henderson, 2011 WL 1362188, at *10. They have failed to

 4   allege a “plausible fact story,” as this Court required them to do. (Hearing Tr. 20:18.) Therefore,

 5   Plaintiffs fall short of bringing their claims into the realm of plausibility required by Twombly and

 6   Iqbal and the 4AC should be dismissed.

 7                          3.      Fitbit’s Trackers Do What They Claim To Do
 8          Plaintiffs further allege that Fitbit made “specific representations” about the accuracy of

 9   the sleep-tracking feature. (See, e.g., 4AC ¶ 106.) This premise is misplaced. A plaintiff may

10   not bring a UCL or CLRA claim based on false advertising where the plaintiff unjustifiably

11   exaggerates the defendant’s statements. In Block v. eBay, Inc., 747 F.3d 1135, 1140 (9th Cir.

12   2014), the Ninth Circuit held that a reasonable person could not have relied on conversational

13   representations that eBay is “not involved” and has “no agency” to believe that eBay would not

14   offer automatic bids on customers’ behalf. In In re Sony Gaming Networks & Customer Data

15   Sec. Breach Litig., 996 F. Supp. 2d 942, 990 (S.D. Cal. 2014), Sony represented that access to the

16   “Play Station Network” and online connectivity were features of the console. The court held this

17   could not be interpreted to mean that network access would be uninterrupted. Id.

18          Here, Plaintiffs have similarly exaggerated Fitbit’s statement in an attempt to bolster their

19   claims. According to the 4AC, Fitbit represented that its “devices can make specific,

20   mathematical measurements and calculations as to the amount and quality of the wearer’s sleep.”
21   (4AC ¶ 86.) This is simply not true. Plaintiffs further assert that consumers are “likely” to

22   believe that Fitbit’s trackers “will track, to the minute, the amount they sleep and the quality and

23   efficiency to an exact percentage point, of that sleep.” (Id. ¶ 87.) Not one of these allegations is

24   plausible. Fitbit’s statements that the products can track “hours slept,” “times woken up,” or

25   “sleep quality” do not promise scientifically calibrated or medical device level accuracy. They do

26   not even promise to track sleep down “to the minute,” contrary to Plaintiffs’ allegations.
27   (Compare id. ¶ 87 with id. Ex. 2.) Fitbit only promises that its trackers can track sleep. The fact

28   that Fitbit uses movement to measure sleep is immaterial in light of the accepted validity of using
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                            9
     sd-674287
 1   movement to track sleep. Just as in Block and Sony, Plaintiffs should not be permitted to turn

 2   Fitbit’s representations into something they are not.

 3          No reasonable consumer could share Plaintiffs’ alleged expectation that Fitbit’s $99-$120

 4   fitness trackers were intended to deliver the precision of polysomnography, which monitors

 5   numerous body functions, often requires an overnight stay at a research facility, and costs

 6   significantly more. (See 4AC ¶ 4; RJN Exs. K, N.) A reasonable consumer would expect that

 7   Fitbit’s products are what they claim to be: activity and fitness trackers featuring step-tracking,

 8   sleep-tracking, an LED progress light, a silent alarm, and interchangeable bands.3

 9                          4.      Fitbit’s General Statements Are Puffery
10          General statements that would not induce consumer reliance are non-actionable puffery.

11   Fitbit’s statements about sleep tracking are exactly the type of “general, subjective claim[s] about

12   a product” on which a deception claim cannot be based. “[T]he determination of whether an

13   alleged misrepresentation ‘is a statement of fact’ or is instead ‘mere puffery’ is a legal question

14   that may be resolved on a Rule 12(b)(6) motion.” Newcal Indus., Inc. v. Ikon Office Solution, 513

15   F.3d 1038, 1053 (9th Cir. 2008) (citations omitted). In the Ninth Circuit:

16                  A statement is considered puffery if the claim is extremely unlikely
                    to induce consumer reliance . . . . The common theme that seems to
17                  run through cases concerning puffery in a variety of contexts is that
                    consumer reliance will be induced by specific rather than general
18                  assertions. Thus, a statement that is quantifiable, that makes a
                    claim as to the specific or absolute characteristics of a product, may
19                  be an actionable statement of fact while a general, subjective claim
                    about a product is non-actionable puffery.
20
     Id. (internal citations and quotation marks omitted) (citing Cook, Perkiss, & Liehe v. N. Cal.
21
     Collection Serv., 911 F.2d 242, 245-46 (9th Cir. 1990)).
22
            Fitbit advertised that the devices “‘track hours slept,’ track ‘times woken up’, and track
23

24          3
              That Plaintiffs were harmed $30 is similarly implausible. Plaintiffs calculate this
25   amount by wrongly concluding that Zip differs from other trackers only due to the sleep tracking
     function. Compared to Flex, Zip cannot be worn on the wrist and lacks an LED display, silent
26   alarm, and interchangeable bands. (Compare RJN Ex. B with RJN Ex. D.) The Gizmodo
     reviewer agreed, noting that “the $40 is worth it for the added functionality.” (Id. Ex. J.) A
27   reasonable consumer would expect and understand that the purchase price includes all of these
     features. Plaintiffs should have understood this, too.
28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                           10
     sd-674287
 1   the ‘quality of sleep.’” (4AC ¶ 28 (citing product packaging).) According to the 4AC, Fitbit

 2   states in an unspecified place that its products “‘measure your sleep quality,’ and ‘[o]nce the data

 3   syncs, graphs on your (device) dashboard will reveal how long you slept and the number of times

 4   you woke up, giving you a ‘sleep quality score.’” (Id. ¶ 29.) Plaintiffs embellish Fitbit’s claims.

 5   Fitbit simply promises that users will generally be able to track sleep and the “quality of sleep,”

 6   without quantifying what type of “score” the activity trackers can provide or on what basis the

 7   “quality of sleep” will be measured.

 8          Courts have routinely held that general representations such as Fitbit’s constitute non-

 9   actionable puffery. See, e.g., Cook, Perkiss & Liehe, 911 F.2d at 246 (finding it was “beyond the

10   realm of reason to assert” that a reasonable consumer would interpret as a factual claim the

11   statement that “we’re the low cost commercial collection experts”); Tietsworth v. Sears, Roebuck

12   and Co., 720 F. Supp. 2d 1123, 1136 (N.D. Cal. 2010) (statements that washing machines were

13   “designed and manufactured for years of dependable operation” and “save you time by allowing

14   you to do fewer, larger loads” were puffery); Frenzel I, 76 F. Supp. 3d at 1011 (general statement

15   that activity tracker helps users “understand your sleep and wake up refreshed” constitutes “the

16   sort of vague statements about general functionality that are not actionable under California’s

17   consumer protection statutes.”); In re All Terrain Vehicle Litig., 771 F. Supp. 1057, 1061 (C.D.

18   Cal. 1991) (use of name “all terrain vehicle” or “all-weather tires” is puffery, as is statement that

19   vehicle is “precisely balanced in the frame for superb handling”); Stearns v. Select Comfort Retail

20   Corp., No. 08-2746 JF, 2009 WL 1635931, at *11 (N.D. Cal. June 5, 2009) (statement that bed
21   would be “maintenance free” and provide “constant and wear free support night after night” were

22   puffery despite fact that beds need to be cleaned periodically because “no consumer reasonably

23   could have [] expectation” that any product would be maintenance free). Similarly, Fitbit’s

24   general statements about sleep tracking would not mislead a reasonable consumer to believe that

25   a Fitbit activity tracker could measure sleep or sleep quality with the precision of a sleep lab.

26                          5.      No Reasonable Consumer Would Have Been Deceived By the
                                    Online Dashboard Depicted on the Product Packaging
27

28          Plaintiffs cite to the online dashboard shown on the product packaging in support of their
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                           11
     sd-674287
 1   claims: “The images of the ‘dashboard’ on the packaging depict specific numbers presented to

 2   the consumer as exact times.” (4AC ¶ 31.) There are two problems with this allegation. First, a

 3   reasonable consumer would not read all of the words contained in this graphic, which is clearly

 4   intended to illustrate wireless synchronization capabilities. The words are simply too small. (See

 5   id. Ex. 2.) Second, “specific” and “exact” are Plaintiffs’ words, not Fitbit’s. Nowhere does Fitbit

 6   advertise that its devices’ sleep-tracking feature can track every second of sleep. (See generally

 7   id.) Nor, as discussed above, would a reasonable consumer have so believed.

 8          Plaintiffs’ claims of deception are implausible. On this basis, their UCL, FAL, CLRA,

 9   FDUTPA, fraud, negligent misrepresentation, and unjust enrichment claims should be dismissed.

10                  B.      Plaintiffs’ Fraud-Based Claims Lack Specificity
11          Plaintiffs’ first, second, and third causes of action (violation of the UCL, FAL, and

12   CLRA), sixth cause of action (violation of the FDUTPA), and seventh cause of action (fraud) are

13   all fraud-based claims subject to the heightened pleading standard of Rule 9(b). Kearns v. Ford

14   Motor Co., 567 F.3d 1120, 1126-27 (9th Cir. 2009) (consumer deception claims that rely on

15   allegations of fraudulent conduct are subject to Rule 9(b) heightened pleading standards); see also

16   Frenzel I, 76 F. Supp. 3d at 1011 (dismissing plaintiff’s fraud-based UCL, FAL, and CLRA

17   claims for failure to meet Rule 9(b) pleading standard); Jovine, 795 F. Supp. 2d at 1343 n.9

18   (applying the Rule 9(b) heightened pleading standard for a FDUTPA claim based on fraudulent

19   conduct); but see Hill v. Hoover Co., 899 F. Supp. 2d 1259, 1263 (N.D. Fla. 2012) (Rule 9(b)

20   standard does not apply to FDUTPA claims based on unfair or unlawful conduct). As such,
21   plaintiffs must “state with particularity the circumstances constituting fraud.” Kearns., 567 F.3d

22   at 1126 (quoting Fed. R. Civ. P. 9(b)). This heightened pleading standard requires plaintiffs to

23   allege “the who, what, when, where, and how” of the fraud. Vess v. Ciba-Geigy Corp., 317 F.3d

24   1097, 1106 (9th Cir. 2003).

25          Under this standard, Plaintiffs’ claims fail to the extent they still claim that Fitbit

26   misrepresented the accuracy of its sleep-tracking feature. Nowhere have Plaintiffs alleged that
27   they relied on any claims of “accuracy.” Plaintiffs quote no specific statements by Fitbit about

28   sleep-tracking accuracy or comparing the accuracy to that of polysomnography. In Frenzel II,
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                        12
     sd-674287
 1   Judge Orrick dismissed nearly identical claims against an activity tracker manufacturer. Frenzel

 2   II, 2015 WL 4110811, at *12. Just like Plaintiffs here, the only representations the Frenzel

 3   plaintiff alleged he relied on “were those on the [product] box, none of which used the word

 4   ‘accurately.’” Id. Instead, the product packaging used terms such as “measure” and “track” to

 5   describe what the activity tracker could do. Id. Because the Frenzel plaintiff never relied on a

 6   representation that the tracker would “accurately” measure any metric, the court dismissed his

 7   CLRA, UCL, and FAL claims with prejudice, to the extent they were based on misrepresentations

 8   regarding accuracy. Id.

 9          Plaintiffs’ fraud-based claims against Fitbit should be dismissed for the same reasons.

10   Plaintiffs still complain that Fitbit promised to provide “accurate” sleep-tracking statistics. (See,

11   e.g., 4AC ¶ 36.) These are Plaintiffs’ words, not Fitbit’s. Just as in Frenzel II, Plaintiffs only

12   allege that they relied on the product packaging.4 Just as in Frenzel II, nowhere on the packaging

13   does Fitbit claim to deliver “accurate” sleep-tracking information. Just as in Frenzel II, Fitbit

14   promises only to “track” the user’s activity and sleep. Only one conclusion follows: just as in

15   Frenzel II, Plaintiffs’ claims should be dismissed with prejudice.

16          Other courts have dismissed similar fraud claims where the complaint lacked specific

17   statements that a particular product feature would work flawlessly. See, e.g., Minkler v. Apple,

18   Inc., 65 F. Supp. 3d 810, 821 (N.D. Cal. 2014) (dismissing fraud claim based on inconsistencies

19   in the Apple Maps application because plaintiff “failed to identify any specific statement by

20   Apple that expressly indicates that Apple Maps would always work flawlessly and without
21   error.”); In re iPhone 4S Consumer Litig., No. C 12-1127 CW, 2014 WL 589388, at *6 (N.D. Cal.

22   Feb. 14, 2014) (“Plaintiffs do not allege any specific statement by Apple that expressly indicates

23   that Siri would be able to answer every question, or do so consistently.”); McKinney v. Google,

24          4
              Plaintiffs quote one statement of Fitbit’s not on the packaging: “Once the data syncs,
25   graphs on your (device) dashboard will reveal how long you slept and the number of times you
     woke up, giving you a ‘sleep quality score.’” (4AC ¶ 29.) Plaintiffs have not alleged where this
26   representation was made, nor does it appear on the product packaging attached to the 4AC as
     Exhibit 2. To the extent Plaintiffs claim to have relied on this representation, such claim omits
27   the requisite “when, where, and how” and therefore fails to meet Rule 9(b)’s heightened pleading
     standard. See Vess, 317 F.3d at 1106
28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                          13
     sd-674287
 1   Inc., No. 5:10-CV-01177 EJD (PSG), 2011 WL 3862120, at *5 (N.D. Cal. Aug. 30, 2011)

 2   (dismissing fraud claim where plaintiff failed to plead facts sufficient to show a representation

 3   that “the Nexus One would maintain consistent 3G connectivity”). Here, the 4AC cites no such

 4   representations about the performance of Fitbit’s sleep tracking feature, warranting dismissal of

 5   Plaintiffs’ fraud-based claims.

 6          Finally, the 4AC lacks specific allegations of the “circumstances indicating falseness”

 7   necessary to satisfy the heightened pleading standard. Frenzel II, 2015 WL 4110811, at *5

 8   (citing In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1547-48 (9th Cir. 1994)). Plaintiffs allege

 9   misrepresentation on the bases that “the devices cannot track sleep and rather only movement”

10   (4AC ¶ 38), and that the packaging represented that the product could track a user’s “hours slept,”

11   “times woken up,” and the “sleep quality” (id. ¶ 47). As already discussed, no facts in Plaintiffs’

12   4AC lend credence to their claims that “[d]efendant’s representations that Plaintiff[s] would

13   receive a working and functional sleep-tracking feature were false” and “[t]he product Plaintiff[s]

14   purchased did not perform as advertised.” (4AC ¶¶ 50, 57; see Section II.A., supra.) Absent

15   embellishment, Plaintiffs cannot credibly plead that Fitbit made specific representations about the

16   accuracy of the sleep-tracking feature rather than general, broad statements about how the product

17   would perform. (See Section II.A.4., supra.) Plaintiffs have not and cannot plead facts with

18   sufficient particularity to support their fraud-based claims, and the Court should not accept

19   Plaintiffs’ conclusory allegations and conclusions of law. See Iqbal, 556 U.S. at 678. Plaintiffs’

20   UCL, FAL, CLRA, FUDTPA, and fraud claims should be dismissed.
21                  C.      Plaintiffs’ Warranty Claims Fail and Should Be Dismissed
22                          1.      There Is No Defect
23          To establish a breach of implied warranty of merchantability, Plaintiffs must allege a

24   “fundamental defect that renders the product unfit for its ordinary purpose.” Tietsworth, 720 F.

25   Supp. 2d at 1142; see also Minkler, 2014 WL 4100613. In Minkler, the plaintiff sued for breach

26   of implied warranty of merchantability over the functionality of the Apple Maps application. Id.
27   at *2. The court dismissed the plaintiff’s claim for two reasons. First, the plaintiff did not “allege

28   that the ordinary purpose of the iPhone 5 was navigational capability. The iPhone 5 has a
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                          14
     sd-674287
 1   multitude of uses.” Id. at *5. Second, the plaintiff did not “allege a fundamental defect in the

 2   software. Although she alleges several problems exist in the software, she has not alleged that

 3   Apple Maps failed to work at all or even that it failed to work a majority of the time.” Id.

 4          The same logic applies here. Replace “iPhone 5” with “Flex” and “navigation” and

 5   “Apple Maps” with “sleep tracking,” and Minkler turns into this case. Like the iPhone, Fitbit’s

 6   trackers have a multitude of uses—step count, silent alarm, floors climbed, time of day. Sleep

 7   tracking is not the only function of Fitbit’s products. Nor have Plaintiffs plausibly alleged that

 8   the sleep tracking function failed to work at all. Just as the Minkler plaintiff failed to state a

 9   claim, Plaintiffs here “has not alleged a plausible claim for relief under breach of implied

10   warranty,” and this cause of action should be dismissed. Id.5

11                          2.      Plaintiffs’ MMWA Claim Also Fails
12          The MMWA provides that “a consumer who is damaged by the failure of a supplier,

13   warrantor, or service contractor to comply with any obligation under this chapter, or under a

14   written warranty, implied warranty, or service contract, may bring suit for damages and other

15   legal and equitable relief.” 15 U.S.C. § 2310(d)(1). Here, Plaintiffs’ warranty allegations arise

16   exclusively under state law. Accordingly, Plaintiffs’ MMWA claims will “stand or fall with his

17   express and implied warranty claims under state law.” Clemens v. DaimlerChrysler Corp., 534

18   F.3d 1017, 1022 (9th Cir. 2008). Because Plaintiffs have failed to state a claim for breach of

19   warranty under state law, their MMWA claim should be dismissed as well.

20          IV.     CONCLUSION
21          For all of the foregoing reasons, Fitbit respectfully asks the Court to dismiss Plaintiffs’

22   4AC in its entirety, without leave to amend.

23

24

25          5
              Plaintiffs previously conceded “that they have not pled a particular purpose, and are not
26   pursuing their claim for breach of warranty of fitness for a particular purpose.” (ECF No. 42 at
     4.) Fitbit does not address Plaintiffs’ allegations for breach of implied warranty of fitness for a
27   particular purpose on the assumption that they were inadvertently re-pled. (See, e.g., 4AC ¶¶ 126,
     132.)
28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                                          15
     sd-674287
 1
     Dated: January 8, 2016                      MORRISON & FOERSTER LLP
 2

 3
                                                 By: s/Erin M. Bosman
 4                                                   Erin M. Bosman

 5                                                    Attorneys for Defendant
                                                      FITBIT, INC.
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     FITBIT’S MOTION TO DISMISS PLAINTIFFS’ FOURTH AMENDED COMPLAINT
     Case No. 3:15-cv-2077-JD
                                                                                16
     sd-674287
